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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

SHERMAN DIVISION
THE STATE OF TEXAS, et al.
Plaintiffs,
VS. Civil Action No. 4:20-cv-00957
GOOGLE LLC,
Defendant.

DECLARATION OF ANDREW ROPE IN SUPPORT OF
DEFENDANT’S MOTION TO TRANSFER VENUE

I, Andrew Rope, declare as follows:

1. I am employed by Google LLC (“Google”) as a Senior Legal Project Manager. I
have worked for Google since February 2018 and am based in the company’s office in Mountain
View, California.

2. I provide this declaration in support of Google’s motion to transfer venue. This
declaration is based on my personal knowledge and investigation. If called as a witness in this
matter, 1 could and would testify competently to all of the information contained in this
declaration.

3. I understand that Google was founded in 1998 in Menlo Park, California, and that
since 2003, Google has had its global headquarters in Mountain View, California, which is
located in the greater San Francisco area in the Northern District of California.

4, Approximately 27,000 full time Google employees are currently based in the
Mountain View offices, including software engineers, research scientists, product managers,

Google’s Chief Executive Officer, and other senior executives.

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5. Google also maintains offices in several other cities located in the Northern
District of California, including Sunnyvale, San Francisco, San Bruno, and Redwood City.
Approximately 15,000 full time Google employees are based in the Sunnyvale office, and
approximately 6,000 are based in San Francisco. In total, a majority of Google’s U.S.-based full
time employees are based in the Northern District of California.

6. Google also maintains offices in New York, New York. Approximately 10,000
full time employees are based in the New York offices, including software engineers, research
scientists, and product managers.

7. Google does not maintain an office in the Eastern District of Texas, and none of
its employees are based there.

8. The Complaint quotes or identifies a number of internal Google emails and other
documents that I understand were among the documents produced to the Plaintiffs in response to
civil investigative demands. A total of 151 Google employees were an author, sender, recipient,
and/or custodian of at least one of the documents quoted or identified in the Complaint. Exhibit
A lists these individuals by name.

9. For each individual, I determined the location of their office using Google’s
internal directory, which is updated as employees transfer to a different office. The “Location”
column on Exhibit A specifies each individual’s assigned work location (or, in the case of former
employees, last assigned work location). That information is current as of January 15, 2021.

10. None of the listed Google employees is associated in Google’s records with an
assigned work location in the Eastern District of Texas or elsewhere in Texas.

11. The Complaint also expressly identifies nine Google employees by name, in

addition to quoting documents that those employees authored, sent, or received. The nine

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individuals are denoted in Exhibit A with an asterisk. All nine have assigned work locations in
Mountain View, California, Redwood City, California or New York, New York.

12. [have reviewed the complaint filed against Google on October 20, 2020 in the
U.S. District Court for the District of Columbia by the U.S. Department of Justice and the
Attorneys General of a number of U.S. states which alleges in the preamble that Google violated
Section 2 of the Sherman Act by allegedly “unlawfully maintaining monopolies in the markets
for general search services, search advertising, and general search text advertising in the United
States through anticompetitive and exclusionary practices.” United States, et al. v. Google LLC,
No. 1:20-cv-03010 (D.D.C.). The plaintiffs in that case include the States of Texas, Arkansas,
Indiana, Mississippi, and Missouri, and the Commonwealth of Kentucky, all of which are among
the ten Plaintiffs in this action.

13. [have also reviewed the complaint filed against Google on December 17, 2020 in
the U.S. District Court for the District of Columbia by the Attorneys General of a number of U.S.
states which alleges in the first paragraph that Google violated Section 2 of the Sherman Act by
allegedly “unlawfully restraining trade and maintaining monopolies in markets that include
general search services, general search text advertising, and general search advertising in the
United States.” Colorado, et al. v. Google LLC, No. 1:20-cv-3715 (D.D.C.). The plaintiffs in
that case include the States of Idaho, North Dakota, South Dakota, and Utah, all of which are
among the ten Plaintiffs in this action.

14. Taken together, the two complaints referenced in the preceding paragraphs
indicate that since October 2020 all ten of the Plaintiffs in this action have filed a complaint in

the U.S. District Court for the District of Columbia alleging that Google violated Section 2 of the

Sherman Act.

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15. Attached as Exhibit B hereto is a Consolidated Class Action Complaint filed
against Google on September 25, 2020 in the Northern District of California. In re Google
Digital Advertising Antitrust Litig., No. 5:20-cv-3556 (N.D. Cal.).

16. Attached as Exhibit C hereto is a Class Action Complaint filed against Google on
December 15, 2020 in the Northern District of California. Sweepstakes Today, LLC v. Google
LLC, No. 3:20-cv-8984 (N.D. Cal.).

17. Attached as Exhibit D hereto is a Class Action Complaint filed against Google on
December 16, 2020 in the Northern District of California. Genius Media Grp., Inc. v. Alphabet
Inc., No. 5:20-cv-9092 (N.D. Cal.).

18. Attached as Exhibit E hereto is a Class Action Complaint filed against Google on
December 23, 2020 in the Northern District of California. Sterling Int’! Consulting Grp. v.
Google LLC, No. 5:20-cv-9321 (N.D. Cal.).

19. Attached as Exhibit F hereto is a Class Action Complaint filed against Google on
January 4, 2021 in the Northern District of California. Astarita v. Google LLC, No. 4:21-cv-0022
(N.D. Cal.).

I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge based on personal investigation and factual information provided to me.

Executed this 15th day of January, 2021 in Aptos, California.

Lib. ep-—

Andrew Rope

